            Case 20-63487-jwc                   Doc 1                 Filed 02/28/20 Entered 02/28/20 10:24:16                         Desc P
                                                                             Page 1 of 66
 Fill in this information to identify your case:                                                 ED 1H 0.1.1(6 OFCE
                                                                                             -.    BANKRUPTCY C
 United States Bankruptcy Court for the:
                                                                                                 ,IORTHERN DISTRICT
                                                                                                     OF GEORGIA
 Northern District of Georgia

 Case number (If known):   -                                      Chapter you are filing unden   OFEB 28 AMIO: 11
                                                                  RI Chapter 7
                                                                  O Chapter 11

20-63487                                                          • Chapter 12
                                                                  U Chapter 13                                                         heck if this is an
                                                                                                                                      amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor f in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:     Identify Yourself

                                     About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
   Write the name that is on your
                                     Catherine
   government-issued picture
                                     First name                                                          First name
   identification (for example,
   your drivers license or           Louise
   passport).                        Middle name                                                         Middle name

   Bring your picture                Hardaway
   identification to your meeting    Last name                                                           Last name
   with the trustee.
                                     Suffix (Sr., Jr., II, Ill)                                          Suffix (Sr., Jr., II, Ill)




2. All other names you
   have used in the last 8           First name                                                          First name
   years
   Include your married or           Middle name                                                         Middle name
   maiden names.
                                     Last name                                                           Last name


                                     First name                                                          First name

                                     Middle name                                                         Middle name

                                     Last name                                                           Last name




3. Only the last 4 digits of
                                     XXX       — XX —             7      8    2     7                    )ocx     — xx —
   your Social Security
   number or federal                 OR                                                                  OR
   Individual Taxpayer
                                     9 )oc — xx —                                                        9 )oc — )0( —
   Identification number
   (ITIN)

Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                                 Page 1
           Case 20-63487-jwc                       Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                                Desc P
                                                                        Page 2 of 66
Debtor 1     Catherine    Louise                     Hardaway                                        Case number (If known)
             First Name   Middle Name                Lest Name




                                        About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
   and Employer                         C21 I have not used any business names or EINs.                    U I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                     Business name                                                      Business name
   Include trade names and
   doing business as names              Business name                                                      Business name



                                        EIN                                                                EIN


                                        EIN                                                                EIN




5. Where you live                                                                                          If Debtor 2 lives at a different address:



                                        715 Gentry Walk
                                        Number     Street                                                  Number         Street




                                        Atlanta                                 GA        30341
                                        City                                    State     ZIP Code         City                                 State     ZIP Code

                                        Dekalb
                                        County                                                             County

                                        If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                        any notices to this mailing address.



                                        Number          Street                                             Number         Street


                                        P.O. Box                                                           P.O. Box


                                        City                                     State    ZIP Code         City                                  State    ZIP Code




6. Why you are choosing                 Check one:                                                         Check one:
   this district to file for
                                               Over the last 180 days before filing this petition,         U Over the last 180 days before filing this petition,
   bankruptcy
                                               I have lived in this district longer than in any              I have lived in this district longer than in any
                                               other district,                                               other district.

                                        El I have another reason. Explain.                                 U I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                           (See 28 U.S.C. § 1408.)




  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                                  Page 2
               Case 20-63487-jwc                     Doc 1        Filed 02/28/20 Entered 02/28/20 10:24:16                                    Desc P
                                                                         Page 3 of 66
    Debtor 1     Catherine    Louise                  Hardaway                                      Case number (if known)
                 First Name   Middle Name             Last Name




    Part 2:    Tell the Court About Your Bankruptcy Case


    7. The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
                                            El Chapter 7
       under
                                            U Chapter 11

                                            U Chapter 12

                                            •   Chapter 13


    a. How you will pay the fee             U I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            •   I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            U I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter? Filing Fee Waived (Official Form 103B) and file it with your petition.



    9. Have you filed for                   El No
       bankruptcy within the
                                            El Yes. District                               When                         Case number
       last 8 years?
                                                                                                   MM! DD / YYYY

                                                      District                             When                         Case number
                                                                                                   MM! DD /YYYY

                                                      District                             When                         Case number
                                                                                                   MM/ DD / YYYY



    10.Are any bankruptcy                   •   No
I      cases pending or being
                                            1:1 Yes. Debtor                                                             Relationship to you
       filed by a spouse who is
       not filing this case with                      District                             When                         Case number, if known
       you, or by a business                                                                       MM / DD / YYYY
       partner, or by an
       affiliate?
                                                      Debtor                                                            Relationship to you

                                                      District                             When                         Case number, if known
                                                                                                   MM / DD / YYYY



,ii. Do you rent your                       U No. Go to line 12.
I    residence?                             121 Yes. Has your landlord obtained an eviction judgment against you?


                                                      •    No. Go to line 12.
                                                      U Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                        part of this bankruptcy petition.



      Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              Page 3
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 Debtort      Catherine         Louise                 Hardaway                                         Case number of !mown)
              First Name        Middle Name            Last Name




 Part 3:    Report About Any Businesses You Own as a Sole Proprietor


 12. Are you a sole proprietor                0 No. Go to Part 4.
     of any full- or part-time
     business?                                U Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
                                                      Number       Street
    LLC.
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                                                                           State           ZIP Code
                                                       City


                                                      Check the appropriate box to describe your business:
                                                      U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      U None of the above


                                              If you are riling under Chapter 11, the court must know whether you are a small business debtor so that it
, 13. Are you filing under
    Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    are you a small business
    debtor?
                                              0 No. I am not filing under Chapter 11.
    For a definition of small
    business debtor, see                      U No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    11 U.S.C. § 101(51D).                           the Bankruptcy Code.

                                              U Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                     Bankruptcy Code.


 Part 4:    Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any                   0 No
     property that poses or is
     alleged to pose a threat                 U Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs                                If immediate attention is needed, why is it needed?
     immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?
                                                                                 Number        Street




                                                                                 City                                               State   ZIP Code


   Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                              Page 4
           Case 20-63487-jwc                     Doc 1          Filed 02/28/20 Entered 02/28/20 10:24:16                                    Desc P
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Debtorl      Catherine      Louise                  Hardaway                                           Case number (If known)
             First Name     Middle Name             Last Name




Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                          About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                 You must check one:                                                 You must check one:
    counseling.
                                             I received a briefing from an approved credit                    U I received a briefing from an approved credit
                                             counseling agency within the 180 days before I                     counseling agency within the 180 days before I
   The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
   receive a briefing about credit           certificate of completion.                                         certificate of completion.
   counseling before you file for
                                             Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
   bankruptcy. You must
                                             plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you                 I received a briefing from an approved credit                      I I received a briefing from an approved credit
   cannot do so, you are not                 counseling agency within the 180 days before I                       counseling agency within the 180 days before I
   eligible to file.                         filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                             certificate of completion.                                           certificate of completion.
   If you file anyway, the court
                                             Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                             you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
   will lose whatever filing fee
                                             plan, if any.                                                        plan, if any.
   you paid, and your creditors
   can begin collection activities           I certify that I asked for credit counseling                       I I certify that I asked for credit counseling
   again.                                    services from an approved agency, but was                            services from an approved agency, but was
                                             unable to obtain those services during the 7                         unable to obtain those services during the 7
                                             days after I made my request, and exigent                            days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                             of the requirement.                                                  of the requirement.
                                             To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                             requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                             you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                             bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                             required you to file this case.                                      required you to file this case.
                                             Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                             If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved                        You must file a certificate from the approved
                                             agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                             may be dismissed.                                                    may be dismissed.
                                             Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                             only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                             days.                                                                days.

                                          O I am not required to receive a briefing about                     O I am not required to receive a briefing about
                                             credit counseling because of:                                        credit counseling because of:

                                             U Incapacity. I have a mental illness or a mental                    U Incapacity. I have a mental illness or a mental
                                                           deficiency that makes me                                             deficiency that makes me
                                                           incapable of realizing or making                                     incapable of realizing or making
                                                           rational decisions about finances.                                   rational decisions about finances.
                                             U Disability.      My physical disability causes me                  U Disability.      My physical disability causes me
                                                                to be unable to participate in a                                     to be unable to participate in a
                                                                briefing in person, by phone, or                                     briefing in person, by phone, or
                                                                through the Internet, even after I                                   through the internet, even after I
                                                                reasonably tried to do so.                                           reasonably tried to do so.
                                             U Active duty. I am currently on active military                     O Active duty. I am currently on active military
                                                            duty in a military combat zone.                                      duty in a military combat zone.
                                             If you believe you are not required to receive a                     If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a                    briefing about oredit counseling, you must file a
                                             motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




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Debtor 1     Catherine    Louise                 Hardaway                                         Case number of known)
             First Name   Middle Name            Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                        16a.Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                   as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                            U No. Go to line 16b.
                                            0 Yes. Go to line 17.
                                        16b.Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                            U No. Go to line 16c.
                                            U Yes. Go to line 17.

                                        16c.State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                          U No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after 0 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                      0 No
    administrative expenses
    are paid that funds will be       U Yes
    available for distribution
    to unsecured creditors?

16. How many creditors do               0 1-49                                U 1,000-5,000                               0 25,001-50,000
    you estimate that you               U 50-99                               0 5,001-10,000                              0 50,001-100,000
    owe?                                O 100-199                             CI 10,001-25,000                            O More than 100,000
                                        CI 200-999
19.How much do you                      0 $0-$50,000                              $1,000,001-$10 million                       $500,000,001-$1 billion
   estimate your assets to                  $50,001-$100,000                      $10,000,001-$50 million                      $1,000,000,001-$10 billion
   be worth?                                $100,001-$500,000                     $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                            $500,001-$1 million                   $100,000,001-$500 million               CI   More than $50 billion

20. How much do you                         $0-$50,000                            $1,000,001-$10 million                       $500,000,001-$1 billion
    estimate your liabilities               $50,001-$100,000                      $10,000,001-$50 million                      $1,000,000,001-$10 billion
    to be?                              0   $100,001-$500,000                     $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                            $500,001-$1 million                   $100,000,001-$500 million               CI   More than $50 billion
 Part 7:   Sign Below

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 For you                                correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                                             1/1,0
                                            Signature of Debtor 1                                          Signature of Debtor 2

                                            Executed on 02._2_ 1 4 22.0                                    Executed on
                                                        MM /D13 / YYYY                                                    MM/DD       / YYYY


  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                   Page 6
           Case 20-63487-jwc                       Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                               Desc P
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Debtorl      Catherine    Louise                   Hardaway                                        Case number (it known)
             First Name   Middle Name               Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                            Date
                                           Signature of Attorney for Debtor                                                 MM   /     DD / YYYY




                                           Printed name


                                           Firm name


                                            Number      Street




                                            City                                                            State           ZIP Code




                                            Contact phone                                                   Email address




                                            Bar number                                                      State




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Debtor 1      Catherine   Louise               Hardaway                                     Case number (If known)
             First Name   Middle Name          Last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.

                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                        CI No
                                        O Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                        CI No
                                        O Yes

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                        O No
                                        CI Yes. Name of Person
                                                Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.




                                         Signature of Debtor 1               I                        Signature of Debtor 2

                                        Date            02.   2-Ce 10 2.1)                            Date
                                                           MM/DD   / YYYY                                             MM/ DD / YYYY

                                        Contact phone      (205) 901-5980                             Contact phone

                                        Cell phone         (205) 901-5980                             Cell phone

                                        Email address      catherine.hardawayaoutlook.com             Email address



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                                                                         Page 9 of 66
 Fill in this information to identify your case:


 Debtor 1             Catherine                  Louise                    Hardaway
                      First Name                 Middle Name               Last Name

 Debtor 2
 (Spouse, if filing) First Name                  Middle Name               Last Name


 United States Bankruptcy Court for the:                Northern District of Georgia

 Case number
  (If known)                                                                                                                           U Check if this is an
                                                                                                                                          amended filing



Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

          0 Married
          0 Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?
      1:1 No
      O Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                            Dates Debtor 1     Debtor 2:                                            Dates Debtor 2
                                                                    lived there                                                             lived there

                                                                                       O Same as Debtor 1                                  0   Same as Debtor 1

                2528 5th Ave N                                      From      12/18                                                            From
               Number              Street                                                 Number Street
                                                                    To        10/19                                                            To



               Birmingham                   AL        35293
               City                         State ZIP Code                                City                     State ZIP Code


                                                                                       O Same as Debtor 1                                  0 Same as Debtor 1
               1309 U W Clemon Dr                                   From      2012                                                             From
               Number              Street                                                 Number Street
                                                                    To        2018                                                             To



               Birmingham                   Al        035214
               City                         State ZIP Code                                City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community properly states
    and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      •     No
      •     Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



 Part 2: Explain the Sources of Your Income

 Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                                                                         Page 1
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                                                                          Page 10 of 66
Debtor 1        Catherine       Louise                 Hardaway                                              Case number 'mown)
                Find Name       Middle Name            Lard Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     U No
     O Yes. Fill in the details.




                                                              Sources of Income           Gross Income                 Sources of Income                 Gross Income
                                                              Check all that apply.       (before deductions and       Check all that apply.             (before deductions and
                                                                                          exclusions)                                                    exclusions)

                                                                   Wages, commissions,                                 O Wages, commissions,
           From January 1 of current year until                                               $ 6,995.29
                                                                   bonuses, tips                                          bonuses, tips
           the date you filed for bankruptcy:
                                                              •    Operating a business                                CI Operating a business
                                                                   Wages, commissions,                                 •         Wages, commissions,
            For last calendar year:                                                                                              bonuses, tips
                                                                   bonuses, tips              $ 51,029.00
            (January 1 to December 31, 2019                        Operating a business                                0         Operating a business
                                              my


                                                              •    Wages, commissions,                                 U Wages, commissions,
            For the calendar year before that:                                                                           bonuses, tips
                                                                   bonuses, tips
                                                                                              $ 35,367.00
            (January I to December 31, 2018                   •    Operating a business                                U Operating a business
                                              YYYY



  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     O No
     •     Yes. Fill in the details.
                                                                                                                           101

                                                              Sources of Income               Gross income from            Sources of income             Gross Income from
                                                              Describe below.                 each source                  Describe below.               each source
                                                                                              (before deductions and                                     (before deductions and
                                                                                              exclusions)                                                exclusions)



            From January 1 of current year until                                          $                                                              $
            the date you filed for bankruptcy:                                            $                                                              $
                                                                                          $                                                              $


             For last calendar year:                                                      $                                                              $

             (January I to December 31,                )                                  $                                                              $
                                              YYYY
                                                                                          $                                                              $



             For the calendar year before that:                                           $                                                              $

             (January I to December 31,                )                                  $                                                              $
                                              YYYY
                                                                                          $                                                              $




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Debtor 1       Catherine        Louise                 Hardaway                                   Case number (n.)
               Fast Name        Middle Name            Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



, 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     U No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
           "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               U No. Go to line 7.

               U Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     •     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               RI No. Go to line 7.

               U Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                      creditor. Do not include payments for domestic support obligations, such as child support and
                      alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid       Amount you still owe      Was this payment for...
                                                                       payment


                                                                                                                                      U Mortgage
                      Creditor's Name
                                                                                                                                      U Car
                                                                                                                                      U Credit card
                      Number    Street
                                                                                                                                      U Loan repayment
                                                                                                                                      U Suppliers or vendors
                                                                                                                                      U Other
                      City                    State         ZIP Code




                                                                                                                                      U Mortgage
                      Creditor's Name
                                                                                                                                      U Car
                                                                                                                                      U Credit card
                      Number    Street
                                                                                                                                      U Loan repayment
                                                                                                                                      U Suppliers or vendors
                                                                                                                                      U Other
                      City                    State         ZIP Code




                                                                                                                                      U Mortgage
                      Creditor's Name
                                                                                                                                      U Car
                                                                                                                                      U Credit card
                      Number    Street
                                                                                                                                      U Loan repayment
                                                                                                                                      U Suppliers or vendors
                                                                                                                                      U Other
                      City                    State         ZIP Code




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Debtor I          Catherine       Louise                 Hardaway                                    Case number (if known)
                  Hist Name       MkIdle Name            Lest Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     la No
     U Yes. List all payments to an insider.
                                                                        Dates of     Total amount       Amount you still      Reason for this payment
                                                                        payment      paid               owe


           Insider's Name



           Number       Street




           City                                 State    ZIP Code




           Insider's Name


           Number        Street




           City                                 State    ZIP Code



; 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

      21 No
      U Yes. List all payments that benefited an insider.
                                                                       Dates of       Total amount      Amount you still      Reason for this payment
                                                                       payment        paid              owe                   Include creditor's name


           Insider's Name



           Number        Street




           City                                 State    ZIP Code




           Insider's Name



           Number        Street




           City                                 State    ZIP Code




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Debtor 1       Catherine          Louise                 Hardaway                                          Case number (ffkulown)
               First Name         Middle Name            Lest Name




  Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

l 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     • No
     O Yes. Fill in the details.
                                                                Nature of the case                    Court or agency                               Status of the case


           Case title                                                                               Court Name
                                                                                                                                                    El   Pending
                                                                                                                                                    El   On appeal

                                                                                                    Number     Street                               CI   Concluded

           Case number
                                                                                                    City                     State   ZIP Code




           Case title                                                                               Court Name
                                                                                                                                                    CI   Pending
                                                                                                                                                    0    On appeal

                                                                                                    Number     Street                               CI   Concluded

           Case number
                                                                                                    City                     State   ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

     121 No. Go to line 11.
     El Yes. Fill in the information below.
                                                                          Describe the property                                       Date        Value of the property




                Creditor's Name



                Number      Street                                        Explain what happened

                                                                                Property was repossessed.
                                                                                Property was foreclosed.
                                                                                Property was garnished.

                City                            State   ZIP Code                Property was attached, seized, or levied.

                                                                          Describe the property                                       Date         Value of the property




                Creditor's Name



                Number      Street
                                                                          Explain what happened

                                                                           El   Property was repossessed.
                                                                           O    Property was foreclosed.
                                                                           O    Property was garnished.
                City                            State    ZIP Code
                                                                           CI   Property was attached, seized, or levied.




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Debtor 1          Catherine      Louise                  Hardaway                                        Case number (raiown)
                  Mist Name      Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     • No
     U Yes. Fill in the details.

                                                                 Describe the action the creditor took                          Date action      Amount
                                                                                                                                was taken
           Creditor's Name



           Number     Street




           City                           State   ZIP Code       Last 4 digits of account number: )000<—


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?
     •     No
     ▪     Yes

  Part 5:         List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     • No
     U Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                             Dates you gave      Value
            per person                                                                                                          the gifts




           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                             Dates you gave     Value
           per person                                                                                                           the gifts



           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


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Debtor 1            Catherine       Louise                    Hardaway                                         Case number Of latewn)
                    First Name      Middle Name            Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     O No
     U Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                   contributed




           Charity's Name




           Number        Street




           City                            State    ZIP Code




  Part 6:           List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
      or gambling?

     O No
     U Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.




  Part 7:         List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      U No
      21 Yes. Fill in the details.
                                                                   Description and value of any property transferred                    Date payment or   Amount of payment
             $0$ BK Class, Inc                                                                                                          transfer was made
            Person Who Was Paid
                                                                  Paid $24.00 for pre-bankruptcy counseling.
             PO Box 1004                                                                                                                02/2020             $ 24.00
            Number         Street



                                                                                                                                                            $
             Higley                      AZ        85236
             City                        State     ZIP Code


             myonlinebankruptcyclass.com
             Email or website address


             Person Who Made the Payment, if Not You



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Debtor 1            Catherine       Louise                   Hardaway                                          Case number (ifknown)
                    First Name      Middle Name              Lost Name




                                                                     Description and value of any property transferred                 Date payment or      Amount of
                                                                                                                                       transfer was made    payment

             Person Who Was Paid



             Number        Street




             City                        State    ZIP Code




             Email or website address


             Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

        121 No
        U Yes. Fill in the details.
                                                                     Description and value of any property transferred                 Date payment or   Amount of payment
                                                                                                                                       transfer was made

             Person Who Was Paid



             Number        Street




             City                        State    ZIP Code

  18.   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
        Do not include gifts and transfers that you have already listed on this statement.
        • No
        U Yes. Fill in the details.
                                                                     Description and value of property         Describe any property or payments received     Date transfer
                                                                     transferred                               or debts paid In exchange                      was made

             Person Who Received Transfer



             Number        Street




             City                        State    ZIP Code


             Person's relationship to you


             Person Who Received Transfer



             Number        Street




             City                        State    ZIP Code

             Person's relationship to you

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                   Find Name       Middle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     O No
     U Yes. Fill in the details.

                                                                Description and value of the property transferred                                                 Date transfer
                                                                                                                                                                  was made


           Name of trust




  Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     0 No
     U Yes. Fill in the details.
                                                                    Last 4 digits of account number      Type of account or             Date account was       Last balance before
                                                                                                         Instrument                     closed, sold, moved,   closing or transfer
                                                                                                                                        or transferred

            Name of Financial Institution
                                                                    XXXX—                                U Checking
                                                                                                         U Savings
            Number       Street
                                                                                                         U Money market
                                                                                                         U Brokerage
            City                        State    ZIP Code                                                U Other


                                                                    )000C—                               U Checking
            Name of Financial institution
                                                                                                         U Savings

            Number       Street                                                                           U Money market
                                                                                                          U Brokerage
                                                                                                          U Other
            City                        State    ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
      O No
      U Yes. Fill in the details.
                                                                    Who else had access to it?                        Describe the contents                           Do you still
                                                                                                                                                                      have it?

                                                                                                                                                                      la No
            Name of Financial Institution
                                                                                                                                                                      U Yes
                                                                Name


            Number        Street                                Number       Street



                                                                City                             State   ZIP Code

            City                        State    ZIP Code



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                   Rat Name       Middle Name              Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    • No
    U Yes. Fill in the details.
                                                   Who else has or had access to it?         Describe the contents                                            Do you still
                                                                                                                                                              have It?

                                                                                                                                                               U No
            Name of Storage Facility                               Name                                                                                        U Yes


            Number      Street                                     Number    Street



                                                                   City                       State     ZIP Code

            City                        State   ZIP Code



                     Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.
      • No
      U Yes. Fill in the details.
                                                                  Where lathe property?                                    Describe the property            Value


            Owner's Name

                                                                 Number     Street
            Number       Street



                                                                 City                           State     ZIP Code
            City                        State    ZIP Code


                     Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
  II Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
      it or used to own, operate, or utilize it, including disposal sites.

  •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      • No
      U Yes. Fill in the details.
                                                                  Governmental unit                           Environmental law, If you know It         Date of notice



           Name of site                                          Governmental unit


           Number      Street                                    Number     Street


                                                                 City                 State    ZIP Code



           City                        State    ZIP Code



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Debtor 1           Catherine       Louise                   Hardaway                                                  Case number (t known)
                   First Name      Middle Name          Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     •     No
     O Yes. Fill in the details.
                                                                Governmental unit                                 Environmental law, if you know it                    Date of notice




            Name of site                                       Governmental unit


            Number        Street                               Number       Street




                                                               City                    State    ZIP Code


            City                        State    ZIP Code



  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     •     No
     O Yes. Fill in the details.
                                                                                                                                                                           Status of the
                                                                    Court or agency                                    Nature of the case
                                                                                                                                                                           case

           Case title
                                                                                                                                                                           El Pending
                                                                    Court Name
                                                                                                                                                                       1 la On appeal

                                                                    Number    Street                                                                                       0   Concluded
                                                                                                                                                                       1

           Case number                                                                                 ZIP Code
                                                                    City                       State



  Part 11:           Give Details About Your Business or Connections to Any Business

  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
         El A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           El A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ta A partner in a partnership
           13 An officer, director, or managing executive of a corporation

           El An owner of at least 5% of the voting or equity securities of a corporation

      la No. None of the above applies. Go to Part 12.
      •    Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
                                                                                                                                      Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                      EIN:
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                      From                To

            City                         State   ZIP Code

                                                                    Describe the nature of the business                               Employer identification number
                                                                                                                                      Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                      EIN:            —
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed



                                                                                                                                      From                To
            City                         State   ZIP Code


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Debtor 1          Catherine       Louise               Hardaway                                         Case number (If known)
                  First Name      Middle Name          Last Name




                                                                                                                        Employer Identification number
                                                               Describe the nature of the business
                                                                                                                        Do not include Social Security number or 'TIN.
           Business Name
                                                                                                                         EIN:

           Number        Street                                                                                          Dates business existed
                                                               Name of accountant or bookkeeper



                                                                                                                         From               To
           City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     El No
     U Yes. Fill in the details below.

                                                               Date issued



           Name                                                MM / DD / YYYY



           Number        Street




           City                        State    ZIP Code




  Part 12:         Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      lcOuCath,v6                          rerio4AitA4-U
           Signature of Debtor 1                                                Signature of Debtor 2


           Date    2/Zri zoiO                                                   Date
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       O    No
       U    Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       21 No
      U Yes. Name of person                                                                                  . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1             Catherine                   Louise                   Hardaway
                     First Name                  Middle Name              Last Name

Debtor 2
(Spouse, if filing) First Name                   Middle Name              Last Name


United States Bankruptcy Court for the:                  Northern District of Georgia

Case number
                                                                                                                                            U Check if this is an
                                                                                                                                              amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    O No. Go to Part 2.
    U Yes. Where is the property?
                                                                     What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     U Single-family home                              the amount of any secured claims on Schedule D:
      1.1.                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                     U Duplex or multi-unit building
             Street address, if available, or other description
                                                                     U Condominium or cooperative                      Current value of the     Current value of the
                                                                     U Manufactured or mobile home                     entire property?         portion you own?
                                                                     U Land
                                                                     U Investment property
                                                                     U Timeshare                                       Describe the nature of your ownership
              City                            State     ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                     U Other                                           the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     U Debtor 1 only
              County                                                 U Debtor 2 only
                                                                     U Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                                                                         (see instructions)
                                                                     U At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:
    If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    U Single-family home                               the amount of any secured claims on Schedule D:
      1.2.                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                    • Duplex or multi-unit building
              Street address, if available, or other description
                                                                    U Condominium or cooperative                       Current value of the     Current value of the
                                                                    U Manufactured or mobile home                      entire property?         portion you own?
                                                                    U Land
                                                                    U Investment property
                                                                                                                       Describe the nature of your ownership
                                                                    LI Timeshare
              City                            State      ZIP Code                                                      Interest (such as fee simple, tenancy by
                                                                    U Other                                            the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    U Debtor 1 only
              County                                                U Debtor 2 only
                                                                    U Debtor 1 and Debtor 2 only                       U Check if this is community property
                                                                    U At least one of the debtors and another            (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


                                                                                                                                                              Page 1
   Official Form 106A/B                                             Schedule A/B: Property
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  Debtor 1          Catherine      Louise                 Hardaway           Page 22 of 66 Case number (iroinown)
                    First Name     Middle Name            Lasl Name




                                                                      What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                      U Single-family home                              the amount of any secured claims on Schedule D:
      1.3.                                                                                                              Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description       U Duplex or multi-unit building
                                                                      U Condominium or cooperative                      Current value of the     Current value of the
                                                                                                                        entire property?         portion you own?
                                                                      U   Manufactured or mobile home
                                                                      El Land
                                                                      U Investment property
                                                                                                                        Describe the nature of your ownership
             City                            State      ZIP Code      U Timeshare
                                                                                                                        interest (such as fee simple, tenancy by
                                                                      U Other                                           the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                      U Debtor 1 only
             County
                                                                      U Debtor 2 only
                                                                      U Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                                                                          (see instructions)
                                                                      U At least one of the debtors and another

                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:


; 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here




  Part 2:       Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     CI   No
          Yes

             Make:                        Chevrolet                   Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
     3.1.
                                                                                                                        the amount of any secured claims on Schedule D:
                                          Malibu                          Debtor 1 only                                 Creditors Who Have Claims Secured by Property.
             Model:
                                                                      U Debtor 2 only
             Year:                        2017                                                                          Current value of the      Current value of the
                                                                      U Debtor 1 and Debtor 2 only
                                                                                                                        entire property?          portion you own?
             Approximate mileage:         62.601                      U At least one of the debtors and another
               Other information:
                                                                                                                        $ 10.000.00               $ 10,000.00
               1G1ZE5ST1HF215224                                      U Check if this is community property (see
                                                                        instructions)



     If you own or have more than one, describe here:

             Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
      3.2.
                                                                                                                        the amount of any secured claims on Schedule D:
                                                                      L=I Debtor 1 only                                 Creditors Who Have Claims Secured by Property.
             Model:
                                                                      El Debtor 2 only
             Year:                                                                                                      Current value of the      Current value of the
                                                                      El Debtor 1 and Debtor 2 only
                                                                                                                        entire property?          portion you own?
             Approximate mileage:                                     U At least one of the debtors and another
             Other information:
                                                                      U Check if this is community property (see
                                                                        instructions)




                                                                                                                                                                Page 2
   Official Form 106A/B                                                Schedule NB: Property
             Case 20-63487-jwc                Doc 1            Filed 02/28/20 Entered 02/28/20 10:24:16                           Desc P
Debtor 1        Catherine       Louise            Hardaway           Page 23 of 66 Case number (!rAnown)
               First Name       Middle Name       Last Name




           Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   &3.
                                                                                                                the amount of any secured claims on Schedule D:
                                                              U Debtor 1 only                                   Creditors Who Have Claims Secured by Properly.    ;
           Model:
                                                              U Debtor 2 only
           Year:                                                                                                Current value of the      Current value of the
                                                              U Debtor 1 and Debtor 2 only
                                                                                                                entire property?          portion you own?
           Approximate mileage:                               U At least one of the debtors and another
           Other information:
                                                              U Check if this is community property (see
                                                                 instructions)


           Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   3A.
                                                                                                                the amount of any secured claims on Schedule D:
                                                              U Debtor 1 only                                   Creditors Who Have Claims Secured by Properly.
           Model:
                                                              U Debtor 2 only
           Year:                                                                                                Current value of the      Current value of the
                                                              U Debtor 1 and Debtor 2 only
                                                                                                                entire property?          portion you own?
           Approximate mileage:                               U At least one of the debtors and another
           Other information:
                                                              U Check if this is community property (see
                                                                instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   21 No
   U Yes


           Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                the amount of any secured claims on Schedule D:
                                                              U Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
           Model:
                                                              U Debtor 2 only
           Year:
                                                              U Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
           Other information:                                 U At least one of the debtors and another         entire property?          portion you own?


                                                              U Check if this is community property (see
                                                                instructions)



   If you own or have more than one, list here:

           Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
    4.2.
                                                                                                                the amount of any secured claims on Schedule D:
                                                              U Debtor 1 only                                   Creditors Who Have Claims Secured by Properly.
           Model:
                                                              U Debtor 2 only
           Year:                                                                                                Current value of the      Current value of the
                                                              U Debtor 1 and Debtor 2 only                                                portion you own?
                                                                                                                entire property?
           Other information:                                 U At least one of the debtors and another


                                                              U Check if this is community property (see
                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                      $ 10,000.00
   you have attached for Part 2. Write that number here                                                                            4




                                                                                                                                                        Page 3
 Official Form 106A/B                                          Schedule NB: Property
               Case 20-63487-jwc                Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                      Desc P
  Debtor I       Catherine      Louise             Hardaway         Page 24 of 66 Case number (if...)
                 First Name    Middle Name        Lest Name




 Part 3:     Describe Your Personal and Household Items

                                                                                                                            Current value of the
 Do you own or have any legal or equitable interest in any of the following items?                                          portion you own?
                                                                                                                            Do not deduct secured claims
                                                                                                                            or exemptions.

 6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
     U No
     • Yes. Describe.          Couch, bedroom suite                                                                           $ 600.00


 7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games
     U No
     • Yes. Describe           TV, cell phone                                                                                 $ 400.00


, 8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     • No
     U Yes. Describe


  9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments
     • No
     U Yes. Describe


  10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     @ No
     • Yes. Describe

  11.Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     CI No
     II Yes. Describe          Various clothing                                                                               $ 250.00



  12.Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
               gold, silver
     @ No
     U Yes. Describe.

  13. Non-farm animals
     Examples: Dogs, cats, birds, horses
        No
      U Yes. Describe


  14. Any other personal and household items you did not already list, including any health aids you did not list

      @ No
      U Yes. Give specific
        information

  15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached              $ 1,250.00
      for Part 3. Write that number here


                                                                                                                                                 Page 4
   Official Form 106A/B                                       Schedule NB: Property
                 Case 20-63487-jwc                 Doc 1           Filed 02/28/20 Entered 02/28/20 10:24:16                        Desc P
Debtor 1           Catherine    Louise                  Hardaway         Page 25 of 66 Case number urAnowm
                  First Name   Middle Name           Last Name




Part 4:         Describe Your Financial Assets


Do you own or have any legal or equitable Interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured claims
                                                                                                                                   or exemptions.

16. Cash

   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   •       No
   U Yes                                                                                                    Cash:



17.Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   CI      No
   II      Yes                                                     Institution name:


                                17.1. Checking account:            BEAT                                                             $ 400.00

                                17.2. Checking account:

                                17.3. Savings account:

                                17.4. Savings account:

                                17.5. Certificates of deposit:

                                17.6. Other financial   account:

                                17.7. Other financial account:

                                17.8. Other financial account:

                                17.9. Other financial   account:




18.Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       •   No
   U Yes                        Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

       •   No                   Name of entity:                                                             % of ownership:
       U Yes. Give specific
         information about
         them.




                                                                                                                                                       Page 5
 Official Form 106A/B                                              Schedule NB: Property
            Case 20-63487-jwc                    Doc 1          Filed 02/28/20 Entered 02/28/20 10:24:16                          Desc P
Debtor 1       Catherine     Louise                    Hardaway       Page 26 of 66 Case number (fknown)
              First Name     Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   O No
   U Yes. Give specific      Issuer name:
     information about
     them.




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   U No
   O Yes. List each
     account separately.. Type of account:              Institution name:

                             401(k) or similar plan:    Fidelity                                                                   $ 600.00

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   O No
   U Yes                                           Institution name or individual:
                             Electric:

                             Gas:

                             Heating oil:
                             Security deposit on rental unit:

                             Prepaid rent:

                             Telephone:

                             Water:

                             Rented furniture:

                             Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   O No
   U Yes                      Issuer name and description:




                                                                                                                                              Page 6
 Official Form 106A/B                                           Schedule NB: Property
            Case 20-63487-jwc                  Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                                 Desc P
Debtor 1      Catherine     Louise               Hardaway          Page 27 of 66 Case number (r known)
              Rat Name      Middle Name          Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   El No
   U Yes                            Institution name and description. Separately file the records of any interests. ii U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   •   No
   U Yes. Give specific
     information about them...


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   •   No
   U Yes. Give specific
     information about them...


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   ZI No
   U Yes. Give specific
     information about them...


Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

   •   No
   U Yes. Give specific information                                                                             Federal:
          about them, including whether
          you already filed the returns                                                                         State:
          and the tax years.
                                                                                                                Local:


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   •   No
   U Yes. Give specific information
                                                                                                               Alimony:

                                                                                                               Maintenance:
                                                                                                               Support:

                                                                                                               Divorce settlement:

                                                                                                               Property settlement:

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
             Social Security benefits; unpaid loans you made to someone else
   •   No
   U Yes. Give specific information
                                                                                                                                          $



                                                                                                                                                           Page 7
Official Form 106A/B                                         Schedule A/B: Property
                Case 20-63487-jwc                    Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                                      Desc P
  Debtor 1        Catherine       Louise               Hardaway          Page 28 of 66 Case number (II (mown)
                  First Name      Middle Name          Last Name




1 31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
     O No
     U Yes. Name the insurance company            Company name:                                              Beneficiary:                              Surrender or refund value:
            of each policy and list its value....




  32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
     property because someone has died.
     O No
     U Yes. Give specific information


  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
     O No
     U Yes. Describe each claim


  34.Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims
     O No
     U Yes. Describe each claim




  35.Any financial assets you did not already list

      WI No
     U Yes. Give specific information.



  36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here                                                                                                                $ 1,000.00




  Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
      ra
      v..I No. Go to Part 6.
     U Yes. Go to line 38.
                                                                                                                                                     Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                     or exemptions.

  38. Accounts receivable or commissions you already earned
     O No
     U Yes. Describe


  39. Office equipment, furnishings, and supplies
      Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     O No
     U Yes. Describe



                                                                                                                                                                           Page 8
  Official Form 106A/B                                             Schedule A/B: Property
               Case 20-63487-jwc                 Doc 1        Filed 02/28/20 Entered 02/28/20 10:24:16                     Desc P
  Debtor 1       Catherine      Louise             Hardaway         Page 29 of 66 Case number (irk...)
                 First Name     Middle Name       Last Name




 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

     •    No
     U Yes. Describe



 41. Inventory
      • No
     U Yes. Describe



 42. Interests in partnerships or joint ventures
     • No
     U Yes. Describe           Name of entity:                                                           % of ownership:




 43. Customer lists, mailing lists, or other compilations
     • No
     U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               LI No
               0 Yes. Describe


 44. Any business-related property you did not already list
     • No
     CI   Yes. Give specific
          information




  45.Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached             $ 0.00
     for Part 5. Write that number here                                                                               4


  Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.


  46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
     ma No. Go to Part 7.
     O Yes. Go to line 47.
                                                                                                                           Current value of the
                                                                                                                           portion you own?
                                                                                                                           Do not deduct secured claims
                                                                                                                           or exemptions.
; 47. Farm animals
      Examples: Livestock, poultry, farm-raised fish
     •    No
     O Yes




                                                                                                                                              Page 9
  Official Form 106A/B                                        Schedule NB: Property
                 Case 20-63487-jwc               Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                           Desc P
    Debtor 1       Catherine     Louise            Hardaway          Page 30 of 66 Case number (Ir'mown)
                  First Name     Middle Name       Last Name




    48. Crops—either growing or harvested
i      0 No
       •   Yes. Give specific
           information.

; 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      O No
       •   Yes



    50. Farm and fishing supplies, chemicals, and feed
       O No
       El Yes


    51.Any farm- and commercial fishing-related property you did not already list
       O No
       U Yes. Give specific
         information.

    52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                 $ 0.00
       for Part 6. Write that number here



    Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above

' 53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership

       •   No
       U Yes. Give specific
         information.




    54.Add the dollar value of all of your entries from Part 7. Write that number here                                    4          $ 0.00




    Part 8:      List the Totals of Each Part of this Form

    55.Part 1: Total real estate, line 2                                                                                      ▪    $ 0.00


    56.Part 2: Total vehicles, line 5                                       $ 10.000.00

    57.Part 3: Total personal and household items, line 15                  $ 1.250.00

    58.Part 4: Total financial assets, line 36                              $ 1.000.00

    59.Part 5: Total business-related property, line 45                     $ 0.00

    60.Part 6: Total farm- and fishing-related property, line 52            $ 0.00

    61.Part 7: Total other property not listed, line 54                   +$ 0.00

    62.Total personal property. Add lines 56 through 61.                    $ 12,250.00        Copy personal property total   4 +$    12,250.00



    63. Total of all property on Schedule A/B. Add line 55 + line 62                                                               $ 12,250.00



                                                                                                                                                  Page 10
     Official Form 106A/13                                     Schedule A/B: Property
                Case 20-63487-jwc                             Doc 1        Filed 02/28/20 Entered 02/28/20 10:24:16                               Desc P
                                                                                 Page 31 of 66
 Fill in this information to identify your case:

 Debtor 1           Catherine                            Louise                   Hardaway
                    First Name                           Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                          Middle Name              Last Name


 United States Bankruptcy Court for the:                        Northern District of Georgia

 Case number                                                                                                                                          0 Check if this is an
  (If known)
                                                                                                                                                           amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                             04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      a You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      U You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule NB that you claim as exempt, fill in the information below.


       Brief description of the property and line on                   Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
       Schedule NB that lists this property                            portion you own
                                                                       Copy the value from     Check only one box for each exemption.
                                                                       Schedule A/B

      Brief
      description:
                                                                                               U 100% of fair market value, up to
      Line from
      Schedule NB:                                                                               any applicable statutory limit

                                  Couch, bedroom suite
      Brief                                                                                                                             6-10-6; 6-10-12 Alabama Code
                                                                       $ 600.00                    $ 600.00
      description:
                                                                                               U 100% of fair market value, up to
      Line from
                                                                                                 any applicable statutory limit
      Schedule A/B:

      Brief                       TV, cell phone                                                                                        6-10-6; 6-10-12 Alabama Code
                                                                       $ 400.00                 I $ 400.00
      description:
                                                                                               U 100% of fair market value, up to
      Line from
      Schedule A/B:               7                                                               any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      • No
      U Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            •     No
            U      Yes


                                                                                                                                                                       Page 1 of 2
Official Form 106C                                                     Schedule C: The Property You Claim as Exempt
            Case 20-63487-jwc                   Doc 1        Filed 02/28/20 Entered 02/28/20 10:24:16                              Desc P
Debtor 1      Catherine           Louise         Hardaway          Page 32 of 66 Case number or known)
              First Name          Middle Name    Last Name




 Part 2:     Additional Page

      Brief description of the property and line         Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property           portion you own
                                                         Copy the value from    Check only one box for each exemption
                                                         Schedule A/B
                           Various clothing                                                                             6-10-6; 6-10-12 Alabama Code
     Brief
     description:                                        $ 250.00               IZI $    250.00

     Line from
                                                                                CI 100% of fair market value, up to
     Schedule A/B:
                           11                                                        any applicable statutory limit

     Brief                 Checking: BBST                                                                               6-10-6; 6-10-12 Alabama Code
                                                         $ 400.00                 $ 400.00
     description:
     Line from
                                                                                0 100% of fair market value, up to
     Schedule NB:          17.1
                                                                                  any applicable statutory limit


     Brief                 401k: Fidelity                                                                               11 USC 522(b)(3)(C)
                                                         $ 600.00                    $ 600.00
     description:
     Line from
                                                                                CI   100% of fair market value, up to
                           21                                                        any applicable statutory limit
     Schedule A/B:

      Brief
      description:                                                                   $

      Line from
                                                                                0 100% of fair market value, up to
                                                                                     any applicable statutory limit
      Schedule NB:
      Brief
      description:                                                                   $

      Line from
                                                                                0 100% of fair market value, up to
                                                                                     any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                   $

      Line from
                                                                                CI 100% of fair market value, up to
                                                                                     any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                   $

      Line from
                                                                                0 100% of fair market value, up to
                                                                                     any applicable statutory limit
      Schedule A/B.
      Brief
      description:                                                                   $

      Line from
                                                                                CI 100% of fair market value, up to
                                                                                     any applicable statutory limit
      Schedule A/13:

      Brief
      description:                                                                   $

      Line from
                                                                                 0 100% of fair market value, up to
                                                                                     any applicable statutory limit
      Schedule A/B .

      Brief
      description:                                                                   $

      Line from
                                                                                 0 100% of fair market value, up to
      Schedule A/13'                                                                 any applicable statutory limit

      Brief
      description:                                                                   $

      Line from
                                                                                CI 100% of fair market value, up to
                                                                                     any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                   $

      Line from
                                                                                 O 100% of fair market value, up to
      Schedule A/B:                                                                  any applicable statutory limit


                                                                                                                                                       Page 2 of 2
  Official Form 106C                                    Schedule C: The Property You Claim as Exempt
                Case 20-63487-jwc                     Doc 1           Filed 02/28/20 Entered 02/28/20 10:24:16                            Desc P
                                                                            Page 33 of 66
Fill in this information to identify your case:

Debtor 1            Catherine                     Louise                     Hardaway
                   First Name                  Middle Name                   Last Name

Debtor 2
(Spouse, if filing) First Name                 Middle Name                   Last Name


United States Bankruptcy Court for the:               Northern District of Georgia

Case number
(If known)                                                                                                                                   U Check if this is an
                                                                                                                                               amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
   U No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   II Yes. Fill in all of the information below.


Part 1:        List All Secured Claims
                                                                                                                        Column A      Column B               Column C
69.List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim               Value of collateral    Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the            that supports this     portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.         claim                  If any

2.1                                                     Describe the property that secures the claim:                   $ 16.031.00    $ 10.000.00          $ 6.031.00
      Bridnecrest
      Creditor's Name
                                                        2017 Chevrolet Malibu
      PO Box 29018
      Number            Street
                                                        As of the date you file, the claim is: Check all that apply.
                                                         U Contingent
      Phoenix                     AZ      85038          • Unliquidated
      City                        State   ZIP Code       U Disputed
  Who owes the debt? Check one.                          Nature of lien. Check all that apply.
        Debtor 1 only                                    gi An agreement you made (such as mortgage or secured
        Debtor 2 only                                       car loan)
        Debtor 1 and Debtor 2 only                       U Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another          U Judgment lien from a lawsuit
                                                         U Other (including a right to offset)
     Check If this claim relates to a
     community debt
  Date debt was Incurred 9/2018                          Last 4 digits of account number
2.21                                                     Describe the property that secures the claim:
      Creditor's Name

      Number            Street
                                                         As of the date you file, the claim is: Check all that apply.
                                                           U Contingent
                                                           • Unliquidated
      City                        State   ZIP Code         U Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  U     Debtor 1 only                                      U An agreement you made (such as mortgage or secured
  U     Debtor 2 only                                        car loan)
  U     Debtor 1 and Debtor 2 only                         U Statutory lien (such as tax lien, mechanic's lien)
  U     At least one of the debtors and another            U Judgment lien from a lawsuit
                                                           U Other (including a right to offset)
  U Check if this claim relates to a
     community debt
  Date debt was incurred                                   Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:                            $ 16,031.00


   Official Form 106D                             Schedule D: Creditors Who Have Claims Secured by Property                                                    Page 1 of 1
                    Case 20-63487-jwc                  Doc 1       Filed 02/28/20 Entered 02/28/20 10:24:16                                         Desc P
  Fill in this information to identify your case:                        Page 34 of 66

  Debtor 1              Catherine                 Louise                   Hardaway
                        First Name                Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name                  Middle Name              Last Name


  United States Bankruptcy Court for the:                 Northern District of Georgia
                                                                                                                                                      U   Check if this is an
  Case number                                                                                                                                             amended filing
      (If known)



Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:            List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
        U No. Go to Part 2.
    la Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount

2.1                                                                                                                           $ 2 957.00            $ 2.957.00   $ 0.00
           Internal Revenue Service                                Last 4 digits of account number
          Priority Creditor's Name

           PO Box 7346                                             When was the debt incurred?          2019
          Number           Street

                                                                   As of the date you file, the claim is: Check all that apply.
           Philadelphia                  PA        19101           U Contingent
          City                           State     ZIP Code
                                                                   • Unliquidated
          Who incurred the debt? Check one.                        U Disputed
          a Debtor 1 only
          U Debtor 2 only                                          Type of PRIORITY unsecured claim:
          U Debtor 1 and Debtor 2 only                             •   Domestic support obligations
          U At least one of the debtors and another
                                                                   la Taxes and certain other debts you owe the government
           U Check if this claim is for a community debt           U Claims for death or personal injury while you were
          Is the claim subject to offset?                             intoxicated
          • No                                                     U Other. Specify
          U Yes
2.2                                                                Last 4 digits of account number                                $
          Priority Creditor's Name
                                                                   When was the debt incurred?
          Number            Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   U Contingent
           City                           State    ZIP Code        • Unliquidated
           Who incurred the debt? Check one.                       U Disputed
           U Debtor 1 only
                                                                   Type of PRIORITY unsecured claim:
           U Debtor 2 only
                                                                   • Domestic support obligations
           U Debtor 1 and Debtor 2 only
                                                                   U Taxes and certain other debts you owe the government
           U At least one of the debtors and another
                                                                   U Claims for death or personal injury while you were
           •      Check if this claim is for a community debt        intoxicated
           Is the claim subject to offset?                         a Other. Specify
           U No
           U Yes


 Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 1 of 14
                   Case 20-63487-jwc                   Doc 1          Filed 02/28/20 Entered 02/28/20 10:24:16                                       Desc P
                       Catherine      Louise             Hardaway
Debtor 1
                       First Name     Middle Name        Last Name          Page 35 of 66 Case number (If known)
Part 2:            List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
       El No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       UZI Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
   nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
   included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
   claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim

         Ad Astra Recovery Services                                                  Last 4 digits of account number
                                                                                                                                                                 $ 903.00
        Nonpriority Creditor's Name
                                                                                     When was the debt incurred?              12/2017
         7330 W 33rd St N 118
        Number               Street

         Wichita                                       KS            67205
        City                                           State         ZIP Code        As of the date you file, the claim Is: Check all that apply.

                                                                                     O Contingent
        Who incurred the debt? Check one.                                            • Unliquidated
        Ul Debtor 1 only                                                             •       Disputed
        • Debtor 2 only
        U Debtor 1 and Debtor 2 only                                                 Type of NONPRIORITY unsecured claim:
        U At least one of the debtors and another                                    •       Student loans
                                                                                     •       Obligations arising out of a separation agreement or divorce
         •       Check If this claim is for a community debt
                                                                                             that you did not report as priority claims
        Is the claim subject to offset?                                              •       Debts to pension or profit-sharing plans, and other similar debts
         Wi No                                                                       21 Other. Specify Speedycash
         U Yes

                                                                                     Last 4 digits of account number                                             $ 328.00
             Credit Collection Services
         Nonpriority Creditors Name                                                  When was the debt Incurred?               7/2014

             PO Box 607
         Number              Street
                                                                                     As of the date you file, the claim Is: Check all that apply.
             Norwood                                    MA           02062
         City                                          State         ZIP Code
                                                                                             Contingent
         Who Incurred the debt? Check one.                                           0       Unliquidated
                                                                                             Disputed
         • Debtor 1 only
         • Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
         U Debtor 1 and Debtor 2 only
           At least one of the debtors and another                                   •  Student loans
                                                                                     •  Obligations arising out of a separation agreement or divorce
         •       Check if this claim is for a community debt                            that you did not report as priority claims
                                                                                     ZI Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?
                                                                                     •  Other. Specify Progressive
         • No
         U Yes

 4.3
             National Credit Systems                                                 Last 4 digits of account number
                                                                                                                                                                 $ 1,177.00
         Nonpriority Creditors Name                                                                                             12/2016
                                                                                     When was the debt incurred?
             PO Box 312125
         Number              Street

             Atlanta                                    GA            31131          As of the date you file, the claim Is: Check all that apply.
         City                                          State         ZIP Code
                                                                                     •  Contingent
         Who Incurred the debt? Check one.
                                                                                     •  Unliquidated
         El Debtor 1 only                                                            El Disputed
         1:1 Debtor 2 only
         U Debtor 1 and Debtor 2 only                                                Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                         O Student loans
         U Check if this claim Is for a community debt                                   • Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
         Is the claim subject to offset?
                                                                                         ▪ Debts to pension or profit-sharing plans, and other similar debts
             •   No                                                                      •   Other. Specify Gamecock Village Apts
         ▪       Yes



   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 2 of 14
                Case 20-63487-jwc
                         Louise
                                                       Doc     1 Filed 02/28/20 Entered 02/28/20 10:24:16
                                                        Hardaway
                                                                                                                                           Desc P
                  Catherine
Debtor 1
                  First Name        Middle Name         Last Name      Page 36 of 66 Case number g known)

Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                    Total claim


4.4
                                                                                    Last 4 digits of account number                                       $ 127.00
      Waypoint Resource Group
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          10/2019
      PO Box 8588
      Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Round Rock                                       TX         78683
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      O Debtor 1 only
      U Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                  U Student loans
      U At least one of the debtors and another                                     U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               O Other. Specify Charter Bright House
      el No
      U Yes


4.5
                                                                                    Last 4 digits of account number                                       $ 3,030.00
      Acceptance Now
      NonprIority Creditor's Name
                                                                                    When was the debt incurred?          11/2018
       5501 Headquarters Dr
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Plano                                            TX         75024
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      O      Debtor 1 only
      U      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only                                             U Student loans
      U      At least one of the debtors and another                                U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                O Other. Specify Installment account
      O No
      U Yes

4.6                                                                                                                                                       $ 387.00
                                                                                    Last 4 digits of account number
      Capital One Bank USA
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          3/2016
       PO Box 30281
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Salt Lake City                                  UT         84130
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      O Debtor 1 only
      U Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                  U Student loans
      U At least one of the debtors and another                                     U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      lathe claim subject to offset?                                                O Other. Specify Credit Card
      O No
      U Yes


                                                                                                                                                            Page 3 of 14

  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims
Debtor 1
                Case  20-63487-jwc
                 Catherine Louise
                                                       Doc     1 Filed 02/28/20 Entered
                                                        Hardaway
                                                                                         02/28/20 10:24:16
                                                                                      Case number (if know')
                                                                                                                                           Desc P
                  First Name        Middle Name         Last Name      Page 37 of 66
Part 2:         Your NONPRIORITY Unsecured Claims — Continuation Page



After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                    Total claim


4.7
                                                                                    Last 4 digits of account number                                       $ 403.00
      Credit One Bank
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          5/2018
      PO Box 98872
      Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Las Vegas                                        NV         89193
      City                                             State      ZIP Code              Contingent
                                                                                        Unliquidated
      Who incurred the debt? Check one.                                                 Disputed
      •      Debtor 1 only
      U      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only                                             U Student loans
      U      At least one of the debtors and another                                U Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                I Other. Specify Credit Card
      el No
      U Yes


4.8
                                                                                    Last 4 digits of account number                                       $ 3,685.00
      Dept Of Ed / Neinet
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          8/2013
       PO Box 82561
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Lincoln                                          NE         68501
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      21 Debtor 1 only
      U Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                  • Student loans
      U At least one of the debtors and another                                     U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               U Other. Specify
      el No
      U Yes

4.9                                                                                                                                                        7.48500
                                                                                    Last 4 digits of account number
      Dept Of Ed / Nelnet
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          8/2013
       PO Box 82561
      Number            Street
                                                                                    As of the data you file, the claim is: Check all that apply.
      Lincoln                                          NE         68501
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
        Debtor 1 only
      U Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                  10 Student loans
      U At least one of the debtors and another                                     U Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               U Other. Specify
      el No
      U Yes


                                                                                                                                                            Page 4 of 14

  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims
                Case  20-63487-jwc
                 Catherine Louise
                                                       Doc     1 Filed 02/28/20 Entered 02/28/20
                                                        Hardaway
                                                                                                         10:24:16
                                                                                          number (if known)
                                                                                                                                           Desc P
Debtor 1
                  First Name        Middle Name         Last Name      Page 38 of 66 Case
Part 2:         Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


5.0
                                                                                    Last 4 digits of account number                                       $ 9,099.00
      Dept Of Ed / Nelnet
      Nonpriority Creditor's Name
                                                                                    When was the debt Incurred?          9/2012
      PO Box 82561
      Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Lincoln                                          NE         68501
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who Incurred the debt? Check one.                                             U Disputed
      WI Debtor 1 only
      U Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                  O Student loans
      U At least one of the debtors and another                                     U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               U Other. Specify
      el No
      U Yes


5.1
                                                                                    Last 4 digits of account number                                       $ 3 662.00
      Dept Of Ed / Nelnet
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          9/2012
       PO Box 82561
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Lincoln                                          NE         68501
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who Incurred the debt? Check one.                                             U Disputed
      O      Debtor 1 only
      U      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only                                             O Student loans
      U      At least one of the debtors and another                                U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      LI Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               U Other. Specify
      WI No
      U Yes

5.2
                                                                                                                                                            4.679.00
                                                                                    Last 4 digits of account number
      Dept Of Ed / Nelnet
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          8/2014
       PO Box 82561
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Lincoln                                          NE          68501
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      O      Debtor 1 only
      U      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only                                             WI Student loans
      U      At least one of the debtors and another                                U Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               U Other. Specify
      O No
      U Yes


                                                                                                                                                            Page 5 of 14


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims
                Case  20-63487-jwc
                 Catherine Louise
                                                       Doc     1 Filed 02/28/20 Entered 02/28/20 10:24:16
                                                        Hardaway
                                                                                                                                           Desc P
Debtor 1
                   First Name       Middle Name         Lest Name      Page 39 of 66 Case number (If known)

Part 2:         Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                    , Total claim


5.3
                                                                                    Last 4 digits of account number                                       $ 6,160.00
      Dept Of Ed / Nelnet
      Nonpriority Creditors Name
                                                                                    When was the debt Incurred?          8/2014
          PO Box 82561
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Lincoln                                          NE         68501
      City                                             State      ZIP Code          O Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             O Disputed
      O Debtor 1 only
      • Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      CI Debtor 1 and Debtor 2 only                                                 la Student loans
      O At least one of the debtors and another                                     O Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      •      Check If this claim is for a community debt
                                                                                    O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               O Other. Specify
      el No
      0      Yes


5.4
                                                                                    Last 4 digits of account number                                       $ 5,702.00
          Dept Of Ed / Nelnet
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          9/2015
          PO Box 82561
      Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
          Lincoln                                      NE         68501
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      O      Debtor 1 only
      •      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only                                             O Student loans
      U      At least one of the debtors and another                                U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      O Check if this claim Is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               U Other. Specify
      O No
      U Yes

5.5                                                                                                                                                       $ 2,039.00
                                                                                    Last 4 digits of account number
          Dept Of Ed / Nelnet
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          9/2015
          PO Box 82561
      Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
          Lincoln                                      NE         68501
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      El Debtor 1 only
      U Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                  O Student loans
      U At least one of the debtors and another                                     U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               U Other. Specify
      O No
      U Yes


                                                                                                                                                            Page 6 of 14


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims
               Case  20-63487-jwc
                Catherine Louise
                                                  Doc     1 Filed 02/28/20 Entered 02/28/20
                                                   Hardaway
                                                                                                    10:24:16
                                                                                     number (11knoven)
                                                                                                                                     Desc P
Debtor 1
                First Name          Middle Name    Last Name      Page 40 of 66 Case
Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                               Total claim


5.6
                                                                              Last 4 digits of account number                                       $ 3,725.00
       Dept Of Ed / Neinet
      Nonpriority Creditor's Name
                                                                              When was the debt Incurred?          8/2016
       PO Box 82561
      Number          Street
                                                                              As of the date you file, the claim Is: Check all that apply.
       Lincoln                                     NE        68501
      City                                        State     ZIP Code          U Contingent
                                                                              • Unliquidated
      Who incurred the debt? Check one.                                       U Disputed
      a Debtor 1 only
      U Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                            a Student loans
      U At least one of the debtors and another                               U Obligations arising out of a separation agreement or divorce that
                                                                                you did not report as priority claims
      U Check if this claim is for a community debt
                                                                              U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                         U Other. Specify
      el No
      U Yes


5.7
                                                                              Last 4 digits of account number                                       $ 882.00
       Dept Of Ed / Nelnet
      Nonpriority Creditor's Name
                                                                              When was the debt Incurred?          6/2014
       PO Box 82561
      Number          Street
                                                                              As of the data you file, the claim Is: Check all that apply.
       Lincoln                                     NE        68501
      City                                        State     ZIP Code          U Contingent
                                                                              • Unliquidated
      Who incurred the debt? Check one.                                       U Disputed
      la Debtor 1 only
      U Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                            a Student loans
      U At least one of the debtors and another                               U Obligations arising out of a separation agreement or divorce that
                                                                                you did not report as priority claims
      U Check if this claim Is for a community debt
                                                                              U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                         U Other. Specify
      • No
      U Yes

5.8                                                                                                                                                   11 524.00
                                                                              Last 4 digits of account number
       Dept Of Ed / Nelnet
      Nonpriority Creditor's Name
                                                                              When was the debt incurred?          8/2017
       PO Box 82561
      Number          Street
                                                                              As of the date you file, the claim Is: Check all that apply.
       Lincoln                                     NE        68501
      City                                        State     ZIP Code              Contingent
                                                                                  Unliquidated
      Who Incurred the debt? Check one.                                           Disputed
      • Debtor 1 only
      U Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                            a Student loans
      U At least one of the debtors and another                               U Obligations arising out of a separation agreement or divorce that
                                                                                you did not report as priority claims
      U Check if this claim is for a community debt
                                                                              U Debts to pension or profit-sharing plans, and other similar debts
      is the claim subject to offset?                                         U Other. Specify
      • No
      1=1 Yes


                                                                                                                                                     Page 7 of 14

  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims
                Case  20-63487-jwc
                 Catherine Louise
                                                       Doc     1 Filed 02/28/20 Entered 02/28/20 10:24:16
                                                        Hardaway
                                                                                                                                           Desc P
Debtor 1
                  First Name        Middle Name         Last Name      Page 41 of 66 Case number (num*

Part 2:         Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


5.9
                                                                                    Last 4 digits of account number                                        $ 4,296.00
      Dept Of Ed / Nelnet
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?           2/2017
      PO Box 82561
      Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Lincoln                                          NE         68501
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      VI     Debtor 1 only
      U      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only                                             gl Student loans
      U      At least one of the debtors and another                                U Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      U Check If this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               U Other. Specify
      el No
      U Yes


6.0
                                                                                    Last 4 digits of account number                                        $ 2 555.00
      Dept Of Ed! Neinet
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          5/2015
      PO Box 82561
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Lincoln                                          NE         68501
      City                                             State      ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      Wl     Debtor 1 only
      U      Debtor 2 only                                                          Type of NONPRIORITY unsecured Claim:
      U      Debtor 1 and Debtor 2 only                                             la Student loans
      U      At least one of the debtors and another                                U Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      is the claim subject to offset?                                               U Other. Specify
      ZI No
      U Yes

6.1                                                                                                                                                        $ 1,039.00
                                                                                    Last 4 digits of account number
      Dept Of Ed / Neinet
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?          5/2015
      PO Box 82561
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Lincoln                                          NE         68501
      City                                             State      ZIP Code          O Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one.                                             O Disputed
      •      Debtor 1 only
      U      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only                                             •  Student loans
      U      At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                     O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                • Other. Specify
      VI No
      U Yes

                                                                                                                                                            Page 8 of 14


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims
                Case 20-63487-jwc
                         Louise
                                                       Doc     1 Filed 02/28/20 Entered 02/28/20 10:24:16
                                                        Hardaway
                                                                                                                                              Desc P
                  Catherine
Debtor 1
                  First Name        Middle Name         Last Name      Page 42 of 66 Case number (flown')

Part 2:         Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                       Total claim


6.2
                                                                                       Last 4 digits of account number                                       $ 485.00
      Moneylion Inc
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?          11/2019
       PO Box 1547
      Number           Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       Sandy                                           UT            84091
      City                                             State         ZIP Code          U Contingent
                                                                                       • Unliquidated
      Who incurred the debt? Check one.                                                U Disputed
      el     Debtor 1 only
      U      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only                                                U Student loans
      U      At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                       U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  eI Other. Specify Installment account
      el No
      U Yes


6.3
                                                                                       Last 4 digits of account number                                       $ 841.00
       Discover Financial Services
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?          1/2014
       PO Box 15316
      Number            Street
                                                                                       As of the date you file, the claim Is: Check all that apply.
       Wilminoton                                       DE            19850
      City                                             State         ZIP Code          U Contingent
                                                                                       • Unliquidated
      Who incurred the debt? Check one.                                                U Disputed
      Zi     Debtor 1 only
      U      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only                                                U Student loans
      U      At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                       U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  el Other. Specify Credit Card
      lei No
      U Yes

6.4                                                                                                                                                          $ 7 421.00
                                                                                       Last 4 digits of account number
       Bridciecrest
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?          2/2015
       PO Box 29018
      Number            Street
                                                                                       As of the date you file, the claim Is: Check all that apply.
       Phoenix                                          AZ            85038
      City                                             State         ZIP Code          U Contingent
                                                                                       • Unliquidated
      Who incurred the debt? Check one.                                                U Disputed
      el     Debtor 1 only
      U      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only                                                U Student loans
      U      At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                       U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  el Other. Specify Auto
      el No
      • Yes


                                                                                                                                                              Page 9 of 14

  Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims
               Case  20-63487-jwc
                Catherine Louise
                                                  Doc     1 Filed 02/28/20 Entered
                                                   Hardaway
                                                                                    02/28/20 10:24:16
                                                                                 Case number (r known)
                                                                                                                                         Desc P
Debtor 1
                First Name          Middle Name    Last Name      Page 43 of 66
Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                  Total claim


6.5
                                                                                  Last 4 digits of account number                                       $304.92
      ADT
      Nonpriority Creditor's Name
                                                                                  When was the debt Incurred?
      3190 S Vaughn Way
      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      Aurora                                      CO            80017
      City                                        State         ZIP Code          U Contingent
                                                                                  • Unliquidated
      Who incurred the debt? Check one.                                           U Disputed
      • Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                U Student loans
      U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             eI Other. Specify Alarm System
      el No
      U Yes


6.6
                                                                                  Last 4 digits of account number                                       $ 597.54
      Transworld System Inc
      Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
      500 Virginia Dr Suite 514
      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      Ft. Washington                              PA            19034
      City                                        State         ZIP Code          U Contingent
                                                                                  • Unliquidated
      Who incurred the debt? Check one.                                           U Disputed
      Ul Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                U Student loans
      U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
      U Check If this claim Is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             • Other. Specify Legacy Community FCU
      U No
      U Yes

6.7                                                                                                                                                     $ 2000
                                                                                  Last 4 digits of account number
      ATT
      Nonpriority Creditor's Name
                                                                                  When was the debt Incurred?
      PO Box 536216
      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      Atlanta                                     GA            30353
      City                                        State         ZIP Code          U Contingent
                                                                                  • Unliquidated
      Who incurred the debt? Check one.                                           U Disputed
      el Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                U Student loans
      U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             • Other. Specify Cellphone
      U No
      U Yes

                                                                                                                                                        Page 10 of 14


  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims
              Case  20-63487-jwc
               Catherine Louise
                                                  Doc     1 Filed 02/28/20 Entered 02/28/20 10:24:16
                                                   Hardaway
                                                                                                                                         Desc P
Debtor 1
                First Name          Middle Name    Last Name      Page 44 of 66 Case number utknown)

Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                  Total claim


6.8
                                                                                  Last 4 digits of account number                                       $256.09
      Geico
      Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
      1 Geico Plaza
      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      Bethesda                                    MD            20811
      City                                        State         ZIP Code          U Contingent
                                                                                  • Unliquldated
      Who incurred the debt? Check one.                                           U Disputed
      • Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                U Student loans
      U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
      U Check If this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             Zi Other. Specify Insurance
      U No
      U Yes


6.9
                                                                                  Last 4 digits of account number                                       $ 394.02
      PNC
      Nonpriority Creditor's Name
                                                                                  When was the debt Incurred?
      PO BOX 5570
      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      Cleveland                                   OH            44101
      City                                        State         ZIP Code          U Contingent
                                                                                  • Unliquidated
      Who incurred the debt? Check one.                                           • Disputed
      Ca Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                U Student loans
      U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
      U Check If this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             El Other. Specify Banking
      • No
      U Yes

7.0                                                                                                                                                     $ 400.
                                                                                  Last 4 digits of account number
      American Family Care
      Nonpriority Creditor's Name
                                                                                  When was the debt Incurred?
      PO Box 734316
      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      Dallas                                      TX            75373
      City                                        State         ZIP Code              Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      • Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                U Student loans
      U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      lathe claim subject to offset?                                              VI Other. Specify Medical
      • No
      U Yes


                                                                                                                                                        Page 11 of 14


  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims
                 Case 20-63487-jwc                     Doc 1             Filed 02/28/20 Entered 02/28/20 10:24:16                             Desc P
                                     Louise                 Hardaway
Debtor 1             Catherine
                     First Name      Middle Name            Last Name          Page 45 of 66 Case number yr known)

Part 2:          Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                       Total claim


7.1
                                                                                       Last 4 digits of account number                                       $2000
           Park Place
       Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
       600 24th St N
       Number              Street
                                                                                       As of the date you file, the claim Is: Check all that apply.
       Birmingham                                      Al               35203
       City                                            State            ZIP Code       U Contingent
                                                                                       • Unliquidated
       Who incurred the debt? Check one.                                               U Disputed
       • Debtor 1 only
       U Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only                                                    U Student loans
       U At least one of the debtors and another                                       U Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
       U Check If this claim is for a community debt
                                                                                       U Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 • Other. Specify Intergral
       U No
       U Yes


7.2
                                                                                       Last 4 digits of account number                                       $ 1888.01
       Progressive Leasing
       Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
           256 West Data Drive
       Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       Draper                                          UT               84020
       City                                            State            ZIP Code       U Contingent
                                                                                       • Unliquidated
       Who incurred the debt? Check one.                                               U Disputed
       t21 Debtor 1 only
       U Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only                                                    U Student loans
       U At least one of the debtors and another                                       U Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                       U Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 U Other. Specify Installment Account
           •   No
       U Yes

 7.3                                                                                                                                                         $ 3315.55
                                                                                       Last 4 digits of account number
           Plaza Services
       Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
           110 Hammond Dr#110
       Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
           Atlanta                                     GA               30328
           City                                        State            ZIP Code       U Contingent
                                                                                       • Unliquidated
           Who incurred the debt? Check one.                                           U Disputed
           • Debtor 1 only
           U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
           U Debtor 1 and Debtor 2 only                                                U Student loans
           U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
           •   Check if this claim is for a community debt
                                                                                       U Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                             U Other. Specify CashNet USA Installment Account
           U No
           U Yes


                                                                                                                                                             Page 12 of 14


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims
                Case  20-63487-jwc
                 Catherine Louise
                                                   Doc     1 Filed 02/28/20 Entered
                                                    Hardaway
                                                                                    02/28/20 10:24:16
                                                                                  Case number ynnow,)
                                                                                                                                         Desc P
Debtor 1
                  First Name         Middle Name    Last Name      Page 46 of 66

Part 2:         Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                   Total claim


7.4
                                                                                   Last 4 digits of account number                                       $200
       ABC Financial Services
       Nonpriority Creditor's Name
                                                                                   When was the debt incurred?
       8320 Arkansas 107
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sherwood                                    AK            72120
       City                                        State        ZIP Code           CI Contingent
                                                                                   •  Unliquidated
       Who incurred the debt? Check one.                                           U Disputed
       U Debtor 1 only
       U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only                                                U Student loans
       U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                   U Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             iI Other. Specify Planet Fitness
       U No
       U Yes


7.5
                                                                                   Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                                   When was the debt incurred?

       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.

       City                                        State         ZIP Code              Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       U Debtor 1 only
       U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only                                                U Student loans
       U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                   U Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             U Other. Specify
       U No
       U Yes

 7.6
                                                                                   Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                                   When was the debt incurred?

       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.

       City                                        State         ZIP Code          U Contingent
                                                                                   • Unliquidated
       Who incurred the debt? Check one.                                           U Disputed
       U Debtor 1 only
       U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only                                                U Student loans
       U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       •      Check if this claim is for a community debt
                                                                                   U Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             U Other. Specify
       U No
       U Yes


                                                                                                                                                         Page 13 of 14


   Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims
           Case   20-63487-jwc
            Catherine Louise
                                                Doc     1 Filed 02/28/20 Entered 02/28/20
                                                 Hardaway
                                                                                              10:24:16
                                                                                   number known)
                                                                                                                        Desc P
Debtor 1
                                                                Page 47 of 66 Case
                                                                                                      (If
               First Name     Middle Name        Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


S. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.



                                                                                       Total claim


                 6a. Domestic support obligations                               6a.     $ 0.00
Total claims
from Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                                 6b.     $ 2,957.00

                 6c.Claims for death or personal injury while you were
                    intoxicated                                                 6c.     $ 0.00

                 6d.Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d. -a-
                                                                                    -v $ 0.00



                 6e. Total. Add lines 6a through 6d.                            6e.
                                                                                        $ 2,957.00



                                                                                       Total claim

             6f. Student loans                                                  6f.
Total claims                                                                            $ 66,532.00
from Part 2 6g.Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                 claims                                                         6g.     $ 0.00

                 6h.Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.     $ 0.00

                 61. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                    6i.   + $ 15,406.92



                 6j. Total. Add lines 6f through 61.                            6j.
                                                                                        $ 81,938.92




                                                                                                                                    Page 14 of 14

  Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims
               Case 20-63487-jwc                     Doc 1       Filed 02/28/20 Entered 02/28/20 10:24:16                         Desc P
                                                                       Page 48 of 66
 Fill in this information to identify your case:


 Debtor             Catherine                 Louise                    Hardaway
                    First Name                 Middle Name              Last Name

 Debtor 2
 (Spouse If filing) First Name                 Middle Name              Last Name


 United States Bankruptcy Court for the:             Northern District of Georgia

 Case number
  (If known)                                                                                                                             Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      U Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                            State what the contract or lease is for


2.1

      Name

      Number            Street

      City                                 State      ZIP Code

2.2
      Name

      Number            Street

       City                                State      ZIP Code



       Name

       Number           Street

                                           State      ZIP Code



       Name

       Number           Street

       C'                                  State      ZIP Code



       Name

       Number           Street

       City                                State      ZIP Code


Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 1
                 Case 20-63487-jwc                        Doc 1                Filed 02/28/20 Entered 02/28/20 10:24:16                            Desc P
                                                                                     Page 49 of 66
 Fill in this information to identify your case:

 Debtor 1           Catherine                       Louise                          Hardaway
                    First Name                       Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                    Last Name


 United States Bankruptcy Court for the:                  Northern District of Georgia

 Case number
  (If known)                                                                                                                                            U Check if this is an
                                                                                                                                                          amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                            12(15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       la No
       U Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       • No. Go to line 3.
       U Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            U No
            U Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.



                  Name of your spouse, former spouse, or legal equivalent



                  Number             Street



                  City                                             State                        ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                      Column 2: The creditor to whom you owe the debt

                                                                                                                      Check all schedules that apply:

 3.1
                                                                                                                           Schedule D, line
          Name
                                                                                                                           Schedule E/F, line
          Number            Street                                                                                     0   Schedule G, line

          City                                                         State                     ZIP Code

 3.2
                                                                                                                      0    Schedule D, line
          Name
                                                                                                                      0    Schedule E/F, line
          Number            Street                                                                                     0   Schedule G, line

          City                                                         State                     ZIP Code

 3.3
                                                                                                                      U Schedule D, line
          Name
                                                                                                                       0   Schedule E/F, line
          Number            Street                                                                                     0   Schedule G, line

          City                                                         State                      ZIP Code



Official Form 106H                                                               Schedule H: Your Codebtors
               Case 20-63487-jwc                 Doc 1        Filed 02/28/20 Entered 02/28/20 10:24:16                               Desc P
                                                                    Page 50 of 66
 Fill in this information to identify your case:


 Debtor 1           Catherine                Louise                  Hardaway
                    First Name               Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name             Lest Name


 United States Bankruptcy Court for the:             Northern District of Georgia

 Case number                                                                                          Check if this is:
  (If known)
                                                                                                            An amended filing
                                                                                                      U A supplement showing postpetition chapter 13
                                                                                                        income as of the following date:
Official Form 1061                                                                                          MM / DD/ YYYY

Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
   Information.                                                            Debtor 1                                      Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional           Employment status              II Employed                                    CI Employed
    employers.                                                            U Not employed                                 U Not employed

    Include part-time, seasonal, or
    self-employed work.
                                           Occupation             Sales
    Occupation may include student
    or homemaker, if it applies.
                                           Employer's name        Carmax


                                           Employer's address     5707 Peachtree Pkway
                                                                  Number Street                                 Number      Street




                                                                  Peachtree Corners     GA       30092
                                                                  City                  State    ZIP Code        City                       State ZIP Code

                                           How long employed there?         3 weeks


 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1           For Debtor 2 or
                                                                                                                        non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $ 2,400.00

 3. Estimate and list monthly overtime pay.                                                3. + $ 0


 4. Calculate gross income. Add line 2 + line 3.                                        4.      $ 2,400.00                $ 0.00



                                                                                                                                                             Page 1
Official Form 1061                                                 Schedule I: Your Income
             Case 20-63487-jwc                  Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                               Desc P
                                                                    Page 51 of 66
Debtor I         Catherine      Louise           Hardaway                                     Case number (If strewn)
                 First Name     Middle Name      Last Name



                                                                                             For Debtor 1               For Debtor 2 or
                                                                                                                        non-filing spouse

    Copy line 4 here                                                               5 4.      $ 2,400.00                    $ 0.00

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                5a.    $ 550.00                      $
     5b. Mandatory contributions for retirement plans                                 5b.    $ 0.00                        $
     5c. Voluntary contributions for retirement plans                                 5c.    $ 0.00                        $
     5d. Required repayments of retirement fund loans                                 5d.    $ 0.00                        $
     5e. Insurance                                                                    5e.    $ 0.00                        $
     5f. Domestic support obligations                                                 5f.    $ 0.00                        $

     5g. Union dues                                                                   5g.    $ 0.00                        $

     5h. Other deductions. Specify:                                                   5h. +$ 0.00                       -I- $

 8. Add the payroll deductions. Add lines 5a + 6b + 5c + 5d + 5e +5f + 5g + 5h.        6.    $ 550.00                      $ 0.00


 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                7.    $ 1 850.00                    $ 0.00


 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                 $ 0.00                        $ 0.00
           monthly net income.                                                        8a.
     8b.Interest and dividends                                                        8b.    $ 0.00                        $ 0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce             $ 0.00                        $ 0.00
           settlement, and property settlement.                                       8c.
     8d. Unemployment compensation                                                    8d.    $ 0.00                        $ 0.00
     8e.Social Security                                                               8e.    $ 0.00                        $ 0.00

     8f. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) of any non-cash assistance
           that you receive, such as food stamps (benefits under the Supplemental
           Nutrition Assistance Program) or housing subsidies.
           Specify:                                                                   8f.    $ 0.00                        $ 0.00

      8g.Pension or retirement income                                                 8g.    $ 0.00                        $ 0.00

      8h.Other monthly income. Specify:                                                8h. +$ 0.00                       +$

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.             9.    $ 0.00                        $ 0.00

 10.Calculate monthly income. Add line 7 + line 9.                                                                                            $ 1,850.00
                                                                                             $ 1 850.00                     $ 0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.         10.

 11.State all other regular contributions to the expenses that you list in Schedule J
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                            11.+ $ 0.00

 12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                        14.   $ 1 850.00
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies
                                                                                                                                              Combined
                                                                                                                                              monthly income
  13.Do you expect an increase or decrease within the year after you file this form?
      CI   No.
           Yes. Explain:      I hope to receive commisions.


  Official Form 1061                                            Schedule I: Your Income                                                                    Page 2
                Case 20-63487-jwc                    Doc 1       Filed 02/28/20 Entered 02/28/20 10:24:16                                Desc P
                                                                       Page 52 of 66
  Fill in this information to identify your case:

  Debtor 1           Catherine                  Louise                  Hardaway
                     First Name                 Middle Name             Last Name                         Check if this is:

  Debtor 2                                                                                                U An amended filing
  (Spouse, if filing) First Name                Middle Name             Last Name
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the:               Northern District of Georgia
                                                                                                              expenses as of the following date:

  Case number                                                                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

I. Is this a joint case?

   21 No. Go to line 2.
   U Yes. Does Debtor 2 live in a separate household?

                CI No
                U Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  •      No                                  Dependent's relationship to              Dependent's   Does dependent live
   Do not list Debtor 1 and                 U Yes. Fill out this information for       Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                  each dependent
                                                                                                                                              Li No
   Do not state the dependents'
                                                                                                                                              U Yes
   names.
                                                                                                                                              Li No
                                                                                                                                              U Yes
                                                                                                                                              U No
                                                                                                                                              U Yes
                                                                                                                                              U No
                                                                                                                                              U Yes
                                                                                                                                              U No
                                                                                                                                              U Yes

3. Do your expenses include
                                            a No
   expenses of people other than
   yourself and your dependents?            CI Yes


Part 2:          Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
                                                                                                                                   Your expenses
such assistance and have included it on Schedule I: Your Income (Official Form 1061.)
 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                          4.      $ 700.00
    any rent for the ground or lot.

     If not included in line 4:
      4a. Real estate taxes                                                                                               4a.     $0

      4b. Property, homeowner's, or renter's insurance                                                                    4b.     $

      4c. Home maintenance, repair, and upkeep expenses                                                                   4c.     $

      4d. Homeowner's association or condominium dues                                                                     4d.     $0


   Official Form 106J                                            Schedule J: Your Expenses                                                                   Page 1
                Case 20-63487-jwc                 Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                            Desc P
                                                                      Page 53 of 66
 Debtor 1          Catherine
                   First Name
                                  Louise
                                  Middle Name
                                                     Hardaway
                                                    Last Name
                                                                                            Case number   (ifk..)

                                                                                                                           Your expenses

                                                                                                                           $0
 5. Additional mortgage payments for your residence, such as home equity loans                                      5.

 6. Utilities:
       ea.    Electricity, heat, natural gas                                                                        6a.    $ 74

       8b. Water, sewer, garbage collection                                                                         Gb.    $ 26

        ec.   Telephone, cell phone, Internet, satellite, and cable services                                        6c.    $ 300.00

       6d.    Other. Specify:                                                                                       6d.    $ 0.00

 7. Food and housekeeping supplies                                                                                  7.     $ 300

 8. Childcare and children's education costs                                                                        a.     $0

 9. Clothing, laundry, and dry cleaning                                                                             a.     $ 100.00

10. Personal care products and services                                                                             10.    $ 50.00

11. Medical and dental expenses                                                                                     11.    $ 30.00

12. Transportation. Include gas, maintenance, bus or train fare.                                                           $ 100
    Do not include car payments.                                                                                    12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                              13.    $0

14. Charitable contributions and religious donations                                                                14.    $0

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                         15a. $ 0

        15b. Health insurance                                                                                       15b. $ 0

        15c. Vehicle insurance                                                                                      15c.   $ 350.00

        15d.Other insurance. Specify:                                                                               15d. $ 0


15.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify:                                                                                                    16.    $

17. Installment or lease payments:

        17a.Car payments for Vehicle 1                                                                              17a. $ 373

        17b.Car payments for Vehicle 2                                                                              17b. $ 0

        17c. Other. Specify:                                                                                        17c.   $ 0

        17d. Other. Specify:                                                                                        17d. $ 0

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule!, Your Income (Official Form 1061).                                                 18. $ 0

19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                      19. $ 0

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                            20a.   $ 0

        20b. Real estate taxes                                                                                      20b.   $ 0

        20c. Property, homeowner's, or renter's insurance                                                           20c.   $ 0

        ad. Maintenance, repair, and upkeep expenses                                                                20d.   $ 0

        20e. Homeowner's association or condominium dues                                                            20e.   $ 0

                                                                                                                                             Page 2
      Official Form 106J                                        Schedule J: Your Expenses
             Case 20-63487-jwc              Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                               Desc P
                                                                Page 54 of 66
Debtor I       Catherine    Louise            Hardaway                                    Case number (If known)
               First Name   Middle Name       Last Name




21. Other. Specify:                                                                                                21.   +$ 0


22. Calculate your monthly expenses.

    22a.Add lines 4 through 21.                                                                                22a.       $ 2.402.00

    22b.Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22h.        omo
             ,
    22c.Add line 22a and 22b. The result is your monthly expenses.                                             22c.       $ 2.402.00



23. Calculate your monthly net income.
                                                                                                                           $ 1,850.00
   23a.    Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

   23b.    Copy your monthly expenses from line 22c above.                                                     23b.       $ 2,402.00

   23c. Subtract your monthly expenses from your monthly income.
                                                                                                                           $ -552.00
        The result is your monthly net income.                                                                 23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

   For example, do you expect to finish paying for your car loan within the year or do you expect your
   mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   U No.
   21 Yes.       Explain here:
                I am surrendering my vehicle so will no longer have he car payment or insurance, but I will need to get a less expensive car
                for work.




                                                                                                                                           Page 3
   Official Form 106J                                     Schedule J: Your Expenses
                   Case 20-63487-jwc                 Doc 1       Filed 02/28/20 Entered 02/28/20 10:24:16                            Desc P
                                                                       Page 55 of 66
Fill in this information to identify your case:

Debtor 1           Catherine                Louise                     Hardaway
                   First Name               Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name              Middle Name                Lest Name


United States Bankruptcy Court for the:             Northern District of Georgia

Case number
                                                                                                                                         U Check if this is an
 (If known)                                                                                                                                   amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule 13: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       Information below.

           Identify the creditor and the property that is collateral               What do you Intend to do with the property that   Did you claim the property
                                                                                   secures a debt?                                   as exempt on Schedule C?

          Creditor's                                                               WI Surrender the property.                           No
          name: Bridgecrest
                                                                                      Retain the property and redeem it.              O Yes
          Description of
          property
                                                                                   CI Retain the property and enter into a
          securing debt:                                                              Reaffirmation Agreement.

          2017 Chevrolet Malibu                                                    CI Retain the property and [explain]:


          Creditor's                                                               CI Surrender the property.                         U No
          name:
                                                                                   CI Retain the property and redeem it.              U Yes
          Description of
          property
                                                                                   0 Retain the property and enter into a
                                                                                      Reaffirmation Agreement.
          securing debt:
                                                                                   0 Retain the property and [explain]:

          Creditor's                                                               U Surrender the property.                          U No
          name:
                                                                                   U Retain the property and redeem it.               U Yes
          Description of
                                                                                   U Retain the property and enter into a
          property
          securing debt:                                                             Reaffirmation Agreement.
                                                                                   U Retain the property and [explain]:



          Creditor's                                                               CI Surrender the property.                         U No
          name:
                                                                                   U Retain the property and redeem it.               U Yes
          Description of
                                                                                   U Retain the property and enter into a
          property
          securing debt:                                                             Reaffirmation Agreement.
                                                                                   U Retain the property and [explain]:



   Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                             Page 1
            Case 20-63487-jwc                 Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                          Desc P
                                                                  Page 56 of 66
Delftri       Catherine         Louise          Hardaway                                   Case number   (If known)
              First Name        Middle Name     Last Name




 Part 2:         List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 366(p)(2).

      Describe your unexpired personal property leases                                                                Will the lease be assumed?

     Lessors name: NONE                                                                                               U No

                                                                                                                      U Yes
     Description of leased
     property:


      Lessor's name:                                                                                                  U No

                                                                                                                      U Yes
      Description of leased
      property:


      Lassoes name:                                                                                                   LI No

      Description of leased                                                                                           U Yes
      property:



      Lessor's name:                                                                                                  U No

                                                                                                                      U Yes
      Description of leased
      property:



      Lessors name:                                                                                                   LI No

                                                                                                                      U Yes
      Description of leased
      property:


      Lessors name:                                                                                                   CI No
                                                                                                                      U Yes
      Description of leased
      property:



      Lessor's name:                                                                                                  LI No

                                                                                                                      U Yes
      Description of leased
      property:




 Part 3:         Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  xCA6Okahou
   Signature of Debtor 1                                         Signature of Debtor 2

     Date02_               262,0                                 Date
           MM/    DD   /   my                                           MM! DD!    YYYY


                                                                                                                                                   Page 2
 Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7
               Case 20-63487-jwc                Doc 1       Filed 02/28/20 Entered 02/28/20 10:24:16                             Desc P
                                                                  Page 57 of 66

 Fill in this information to identify your case:

 Debtor 1           Catherine              Louise                  Hardaway
                    First Name             Middle Name             Lest Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name             Last Name


 United States Bankruptcy Court for the:           Northern District of Georgia

 Case number                                                                                                                        U Check if this is an
                    (if known)                                                                                                        amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                 Your assets
                                                                                                                                 Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                     $ 0.00
   Ia. Copy line 55, Total real estate, from Schedule A/B


    lb. Copy line 62, Total personal property, from Schedule A/B                                                                     $ 12,250.00


    1c. Copy line 63, Total of all property on Schedule A/B                                                                          $ 12,250.00



Part 2:        Summarize Your Liabilities


                                                                                                                                  Your liabilities
                                                                                                                                  Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                     $ 16,031.00
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                     $ 2,957.00
   3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    30. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F
                                                                                                                                  + $ 81,938.92


                                                                                                        Your total liabilities       $ 100,926.92



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                     $ 1,850.00
   Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J                                                                            $ 2.402.00




                                                                                                                                                         Page 1

Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information
              Case 20-63487-jwc                  Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                        Desc P
                                                                     Page 58 of 66
Debtor 1         Catherine     Louise              Hardaway                                       Case number of known)
                 First Name    Middle Name         Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

8. Are you filing for bankruptcy under Chapters 7, 11, or 13?

    U No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    tI Yes
7. What kind of debt do you have?

    II Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

    U Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
      this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $ 2,333.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                           Total claim


      From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                       $ 0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $ 2,957.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $ 0.00



    9d. Student loans. (Copy line 6f.)                                                                     $ 66,532.00


    9e. Obligations arising out of a separation agreement or divorce that you did not report as            $ 0.00
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $ 0.00



    9g. Total. Add lines 9a through 9f.                                                                    $ 69,489.00




                                                                                                                                               Page 2

    Official Form 106Sum                     Summary of Your Assets and Liabilities and Certain Statistical Information
                   Case 20-63487-jwc                                              Doc 1       Filed 02/28/20 Entered 02/28/20 10:24:16                                      Desc P
                                                                                                    Page 59 of 66
Fill in this information to identify your case:

Debtor 1           Catherine                                        Louise                         Hardaway
                   First Name                                       Middle Name                   Last Name

Debtor 2
(Spouse, if filing) First Name                                      Middle Name                   Last Name


United States Bankruptcy Court for the:                                           Northern District of Georgia

Case number
(If known)
                                                                                                                                                                                0   Check if this is an
                                                                                                                                                                                    amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                                              12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No
        U Yes. Name of person                                                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         Signature of Debtor 1                                                      I                 Signature of Debtor 2


         Datea
                MM! DD
                          aT 2.623
                                 /    YYYY
                                                                                                      Date
                                                                                                              MM! DD /   YYYY

                         =139IW arr3t...194.1 ,111i7.44,.... Ofig,,,,,i7VE.F.C4




                                                                                                                                                                                                   Page 1

  Official Form 106Dec                                                                    Declaration About an Individual Debtor's Schedules                                                 77
               Case 20-63487-jwc                  Doc 1      Filed 02/28/20 Entered 02/28/20 10:24:16 Desc P
 Fill in this information to identify your case:                   Page 60 of 66    Check one box only as directed in this form and in
                                                                                                     Form 122A-1Supp:
 Debtor 1           Catherine               Louise                   Hardaway
                    First Name               Middle Name             Last Name
                                                                                                     •     1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name              Middle Name             Last Name                       U 2. The calculation to determine if a presumption of
                                                   Northern District of Georgia                           abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:                                                                  Means Test Calculation (Official Form 122A-2).
 Case number                                                                                         U 3. The Means Test does not apply now because of
 (If known)                                                                                               qualified military service but it could apply later.


                                                                                                     •     Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                         12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      • Not married. Fill out Column A, lines 2-11.
      U Married and your spouse Is filing with you. Fill out both Columns A and B, lines 2-11.

      U Married and your spouse is NOT filing with you. You and your spouse are:
                  Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                  Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A          Column B
                                                                                                         Debtor 1          Debtor 2 or
                                                                                                                           non-tiling spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                     $ 2.333.00          $ 0.00

 3. Alimony and maintenance payments. Do not include payments from a spouse if                                               $ 0.00
                                                                                                         $ 0.00
    Column B is filled in.
 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
                                                                                                         $ 0.00              $ 0.00
    filled in. Do not include payments you listed on line 3.
 5. Net income from operating a business, profession,              Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                           $ 0.00        $ 0.00

      Ordinary and necessary operating expenses                   - $ o.00       - $ o.00
                                                                                             Copy
      Net monthly income from a business, profession, or farm        $ 0.00                  here.       $ 0.00              $ 0.00

 6. Net income from rental and other real property                 Debtor 1       Debtor 2
    Gross receipts (before all deductions)                          $ 0.00         $ 0.00
      Ordinary and necessary operating expenses                      $ 0.00        $ 0.00

                                                                                             Copy
      Net monthly income from rental or other real property          $ 0.00        $_0.00    here+       $ 0.00              $ 0.00

 7. Interest, dividends, and royalties                                                                   $ 0.00             $ 0.00


                                                                                                                                                             Page 1
 Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income
              Case 20-63487-jwc                  Doc 1         Filed 02/28/20 Entered 02/28/20 10:24:16                                Desc P
                                                                     Page 61 of 66
Debtor 1        Catherine       Louise             Hardaway                                       Case number Of known)
                First Name      Middle Name        Last Name

                                                                                                           Column A              Column B
                                                                                                           Debtor 1              Debtor 2 or
 8. Unemployment compensation                                                                                                    non-filing spouse
     Do not enter the amount if you contend that the amount received was a benefit
                                                                                                             $ 0.00                 $ 0.00
     under the Social Security Act. Instead, list it here:             40
       For you                                                 $ 0.00
       For your spouse                                                $ 0.00
 9. Pension or retirement income. Do not include any amount received that was a benefit under
    the Social Security Act. Also, except as stated in the next sentence, do not include any
     compensation, pension, pay, annuity, or allowance paid by the United States Government in
     connection with a disability, combat-related injury or disability, or death of a member of the
    uniformed services. If you received any retired pay paid under chapter 61 of title 10, then include
     that pay only to the extent that it does not exceed the amount of retired pay to which you would
                                                                                                           $ 0.00                    $ 0.00
     otherwise be entitled if retired under any provision of title 10 other than chapter 61 of that title.
 10.Income from all other sources not listed above. Specify the source and amount.
    Do not include any benefits received under the Social Security Act; payments received as a
    victim of a war crime, a crime against humanity, or international or domestic terrorism; or
    compensation, pension, pay, annuity, or allowance paid by the United States Government in
    connection with a disability, combat-related injury or disability, or death of a member of the
    uniformed services. If necessary, list other sources on a separate page and put the total below.

                                                                                                             $ 0.00                 $ 0.00
                                                                                                             $ 0.00                 $ 0.00

      Total amounts from separate pages, if any.                                                          + $ 0.00               + $ 0.00

 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                      $ 2,333.00          $ 0.00              $ 2,333.00
                                                                                                                                                     Total current
                                                                                                                                                     monthly Income
  Part 2:      Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a. Copy your total current monthly income from line 11.                                                          Copy line 11 here+      $ 2,333.00

              Multiply by 12 (the number of months in a year).                                                                                  x 12
     12b. The result is your annual income for this part of the form.                                                                  12b.     $ 27 996.00


 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                            Georgia

     Fill in the number of people in your household.                           1



     Fill in the median family income for your state and size of household.                                                            13.      $ 49,236.00

     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.
 14. How do the lines compare?

     14a.10 Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
            Go to Part 3. Do NOT fill out or file Official Form 122A-2

     14b. U     Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                Go to Part 3 and fill out Form 122A-2.

  Part 3:       Sign Below

               By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                    Signature of Debtor 1                                                       Signature of Debtor 2

                    Date 01 aW 2.026                                                            Date
                         MM/DD / YYYY                                                                  MM/DD / YYYY
                    If you checked line 14a, do NOT fill out or file Form 122A-2.
                    If you checked line 14b, fill out Form 122A-2 and file it with this form.

Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                            Page 2
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ABC Financial Services
8320 Arkansas 107
Sherwood, AK 72120


Acceptance Now
5501 Headquarters Dr
Plano, TX 75024


Ad Astra Recovery Services
7330W 33rd St N 118
Wichita, KS 67205


ADT
3190 S Vaughn Way
Aurora, CO 80017


American Family Care
PO Box 734316
Dallas, TX 75373


ATT
PO Box 536216
Atlanta, GA 30353


Bridgecrest
PO Box 29018
Phoenix, AZ 85038


Bridgecrest
PO Box 29018
Phoenix, AZ 85038
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Capital One Bank USA
PO Box 30281
Salt Lake City, UT 84130


Credit Collection Services
PO Box 607
Norwood, MA 2062


Credit One Bank
PO Box 98872
Las Vegas, NV 89193


Dept Of Ed / Nelnet
PO Box 82561
Lincoln, NE 68501


Discover Financial Services
PO Box 15316
Wilmington, DE 19850


Geico
1 Geico Plaza
Bethesda, MD 20811


Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101


Moneylion Inc
PO Box 1547
Sandy, UT 84091
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National Credit Systems
PO Box 312125
Atlanta, GA 31131


Park Place
600 24th St N
Birmingham, Al 35203


Plaza Services
110 Hammond Dr #110
Atlanta, GA 30328


PNC
PO BOX 5570
Cleveland, OH 44101


Progressive Leasing
256 West Data Drive
Draper, UT 84020


Transworld System Inc
500 Virginia Dr Suite 514
Ft. Washington, PA 19034


Waypoint Resource Group
PO Box 8588
Round Rock, TX 78683
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01261228 (RS) OF 02/28/2020


ITEM     CODE   CASE            QUANTITY                      AMOUNT   BY

   1      7IN   20-63487              1                     $ 100.00   Currency
                Judge - unknown at time of receipt
                Debtor - CATHERINE LOUISE HARDAWAY


TOTAL:                                                      $ 100.00


FROM: Catherine Louise Hardaway
      715 Gentry Walk
      Atlanta, GA 30341




                                     Page 1 of 1
                 Case 20-63487-jwc               Doc 1        Filed 02/28/20 Entered 02/28/20 10:24:16                               Desc P
                                                                    Page 66 of 66
   Case Number:20-63487                              Name: Hardaway                                                                      Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

El Individual - Series 100 Forms                                                              0 Non-Individual Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                            Petition Deficiencies:
 CI Complete List of Creditors (names and addresses of all creditors)                           CI Last 4 digits of SSN
 0 Pro Se Affidavit (due within 7 days, signature must be notarized,                            CI Address CI County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                           CI Type of Debtor
 Li Signed Statement of SSN (due within 7 days)                                                 CI Chapter
                                                                                                CI Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                         0 Statistical Estimates
   Li Statement of Financial Affairs                                                            E Venue
   D Schedules: A/B C D El F GHIJ CI J-2 (different addressfor Debtor 2)                        Li Attorney Bar Number
   CI Summary of Assets and Liabilities
   CI Declaration About Debtor(s) Schedules                                                                             Case filed via:
   CI Attorney Disclosure of Compensation                                                              Intake Counter by:
   Li Petition Preparer's Notice, Declaration and Signature (Form 119)                                  CI Attorney
   CI Disclosure of Compensation of Petition Preparer (Form 2800)                                           Debtor - verified ID 205-901-5980
   CI Chapter 13 Current Monthly Income                                                                  CI Other-copy of ID:
   0 Chapter 7 Current Monthly Income
   ID Chapter 11 Current Monthly Income                                                            CI Mailed by:
   CI Certificate of Credit Counseling (Individuals only)                                              Li Attorney
   IZ Pay Advices (Individuals only) (2 Months)                                                        CI Debtor
   CI Chapter 13 Plan, complete with signatures (local form)                                           CI Other:
   CI Corporate Resolution (Business Ch. 7 & 11)
                                                                                                               History of Case Association
   Ch.11 Business
   Li 20 Largest Unsecured Creditors                                                               Prior cases within 2 years:
   O List of Equity Security Holders
   CI Small Business - Balance Sheet
   CI Small Business - Statement of Operations                                                     Signature:
   CI Small Business - Cash Flow Statement                                                         Acknowledgment of receipt of check list
   O Small Business - Federal Tax Returns

   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   0 Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.goviservices-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
      [E] Paid $ 100.00 El 2g-Order Granting fl 3g-Order Granting 10-day finitial payment of $                        due within 10 days)
           2d-Order Denying with filing fee of $_____ due within 10 days 0 IFP filed (Ch.7 Individuals Only)
         O No Application to Pay in Installments Order Regarding Unpaid Case Filing Fee.

                   You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only to the address below.
                             All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                      **Failure to Comply may result in the dismissal of your case.**
                                                         UNITED STATES BANKRUPTCY COURT
                                                           75 Ted Turner Drive, SW, Room 1340
                                                                  Atlanta, Georgia 30303
                                                                      404-215-1000

 Intake Clerk:    R.Smith                  Date: 2/28/20                        Case Opener:                                          Date:
